439 F.2d 1198
    UNITED STATES of America, Appellee,v.Milton SILVERMAN, Appellant.
    Nos. 494, 561, Dockets 33584, 34392.
    United States Court of Appeals, Second Circuit.
    Dec. 11, 1970.
    
      Paul, Weiss, Goldberg, Rifkind, Wharton &amp; Garrison, New York City, by Simon H. Rifkind, Edward N. Costikyan and Theodore W. Striggles, New York City, of counsel, for appellant.
      Before MOORE, FRIENDLY and HAYS, Circuit Judges.
      PER CURIAM.
    
    
      1
      Appellant's petition for a rehearing suggests that our opinion makes an exception to the attorney-client confidential communication rules.  This was not the intent of the opinion.  To avoid any such impression, the paragraph of the decision filed July 1, 1970, reported in 430 F.2d at page 122 and reading 'The privilege as commonly formulated * * *' and continuing to the paragraph on page 122 (right-hand column) reading 'In view of the position * * *' in the opinion reported at 430 F.2d 106, is deleted.  However, with respect to the Friedland report, we believe that under the circumstances it was properly received in evidence.
    
    
      2
      We have considered all the other grounds advanced in the petition for rehearing, and deny the petition except as noted above.
    
    